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Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 2 of 31 PageID #:413
Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 3 of 31 PageID #:414
Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 4 of 31 PageID #:415
Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 5 of 31 PageID #:416
Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 6 of 31 PageID #:417
Case: 1:00-cr-00274 Document #: 137 Filed: 12/31/02 Page 7 of 31 PageID #:418
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